  Case 1:22-cv-00308-CJB Document 1 Filed 03/08/22 Page 1 of 37 PageID #: 1




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


DANIEL MEYER, MEARON OKONSKY,
and ANDREA CAPANI Derivatively on
Behalf of Nominal Defendant ASTRA
SPACE INC. (F/K/A HOLICITY INC.),

                      Plaintiffs,

       v.                                        Case No.:

CHRIS C. KEMP, ADAM LONDON,
CRAIG O. MCCAW, SCOTT STANFORD,
MICHAEL LEHMAN, MICHÈLE                          JURY TRIAL DEMANDED
FLOURNOY, LISA NELSON, KELYN
BRANNON, AND STEVEN EDNIE,

                      Defendants,

       and,

ASTRA SPACE INC. (F/K/A HOLICITY
INC.),

                      Nominal Defendant.


                VERIFIED STOCKHOLDER DERIVATIVE COMPLAINT

       Plaintiffs Daniel Meyer, Mearon Okonsky and Amdrea Capani (“Plaintiffs”), by and

through their undersigned attorneys, bring this derivative complaint for the benefit of nominal

defendant Astra Space, Inc. (f/k/a Holicity Inc.) (“Astra Space” or the “Company”), against its

Board of Directors (the “Board”) and certain of its executive officers seeking to remedy

defendants’ breaches of fiduciary duties and violations of federal law. Plaintiffs’ allegations are

based upon their personal knowledge as to themselves and their own acts, and upon information

and belief, developed from the investigation and analysis by Plaintiffs’ counsel, including a

review of publicly available information, including filings by Astra Space with the U.S.
   Case 1:22-cv-00308-CJB Document 1 Filed 03/08/22 Page 2 of 37 PageID #: 2




Securities and Exchange Commission (“SEC”), press releases, news reports, analyst reports,

investor conference transcripts, publicly available filings in lawsuits, and matters of public

record.

                       NATURE AND SUMMARY OF THE ACTION

          1.   This is a shareholder derivative action that seeks to remedy wrongdoing

committed by the Company’s directors and officers in their management and control of the

Company.

                                    JURISDICTION AND VENUE

          2.   Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because

Plaintiffs’ claims raise a federal question under Section 10(b) of the Exchange Act (15. U.S.C. §

78j(b)), and Section 21D of the Exchange Act (15 U.S.C. § 78u-4(f)).

          3.   This Court has supplemental jurisdiction over Plaintiffs’ state law claims pursuant

to 28 U.S.C. § 1367(a).

          4.   This derivative action is not a collusive action to confer jurisdiction on a court of

the United States that it would not otherwise have.

          5.   Venue is proper in this District because the alleged misstatements and wrongs

complained of herein entered this District, Defendants have conducted business in this District,

and Defendants’ actions have had an effect in this District.

          6.   Venue is proper in this Court because the Company is incorporated in Delaware.

                                                PARTIES
Plaintiffs

          7.   Plaintiffs purchased shares of Astra stock during the time period in issue and

continue to hold their Astra stock currently.




                                                 2
  Case 1:22-cv-00308-CJB Document 1 Filed 03/08/22 Page 3 of 37 PageID #: 3




Nominal Defendant

       8.     Nominal Defendant Astra is incorporated in Delaware with its headquarters at

1900 Skyhawk Street, Alameda, California.

Director Defendants

       9.     Defendant Chris C. Kemp (“Kemp”) is, and was at all pertinent times, the

founder, Chief Executive Officer (“CEO”), and Chairman of the Company. Since the merger

(discussed below), Defendant Kemp has served in the same capacities for the Company.

Defendant Kemp has 38.17% of the voting power of Company stock. Percentage of total voting

power represents voting power with respect to all shares of Class A common stock and Class B

common stock, as a single class. Each share of Class B common stock is entitled to 10 votes per

share and each share of Class A common stock is entitled to one vote per share.

       10.    Defendant Adam London (“London”) is the co-founder, Chief Technology

Officer and a director of the Company. Defendant London helped to found the Company in

October 2016 and has served as the Chief Technology Officer and director since then.

Defendant London leads the Company’s technology strategy and long-term product roadmap.

Defendant London co-founded and served as a managing partner for Ventions, LLC, which was

the predecessor company, from January 2005 until September 2016. Defendant London has

38.17% of the voting power of Company stock. Percentage of total voting power represents

voting power with respect to all shares of Class A common stock and Class B common stock, as

a single class. Each share of Class B common stock is entitled to 10 votes per share and each

share of Class A common stock is entitled to one vote per share.

       11.    Defendant Craig O. McCaw (“McCaw”) is a director of the Company.

Defendant McCaw has 1.03% of the voting power of Company stock. Percentage of total voting



                                               3
  Case 1:22-cv-00308-CJB Document 1 Filed 03/08/22 Page 4 of 37 PageID #: 4




power represents voting power with respect to all shares of Class A common stock and Class B

common stock, as a single class. Each share of Class B common stock is entitled to 10 votes per

share and each share of Class A common stock is entitled to one vote per share.

       12.     Defendant Scott Stanford (“Stanford”) is a director of the Company. Defendant

Stanford is a member of the Audit Committee and also a member of the Compensation

Committee. Defendant Stanford has 3.88% of the voting power of Company stock. Percentage

of total voting power represents voting power with respect to all shares of Class A common stock

and Class B common stock, as a single class. Each share of Class B common stock is entitled to

10 votes per share and each share of Class A common stock is entitled to one vote per share.

Further, funds managed by ACME, LLC and affiliates (“ACME”) own 3.88% of the voting

power of Company stock. Defendant Stanford exercises voting and dispositive control over the

securities held by ACME and thus may be deemed to beneficially own such securities.

       13.     Defendant Michael Lehman (“Lehman”) is a director of the Company.

Defendant Lehman is the Chair of the Audit Committee and also a member of the Compensation

Committee.

       14.     Defendant Michèle Flournoy (“Flournoy”) is a director of the Company.

       15.     Defendant Lisa Nelson (“Nelson”) Defendant Nelson is also a member of the

Audit Committee.

       16.     Defendants Kemp, London, McCaw, Stanford, Lehman, Flournoy and Nelson are

collectively referred to herein as the “Director Defendants”.

Officer Defendants

       17.     Defendant Kelyn Brannon (“Brannon”) is, and was at all pertinent times, the

Chief Financial Officer (“CFO”) of the Company. Since the merger, Defendant Brannon has



                                                 4
  Case 1:22-cv-00308-CJB Document 1 Filed 03/08/22 Page 5 of 37 PageID #: 5




served in the same capacity for the Company.

       18.       Defendant Steven Ednie (“Ednie”) was the Company’s CFO and secretary prior

to the merger.

       19.       The Director Defendants and Defendants Brannon and Ednie are collectively

referred to herein as the “Individual Defendants”.

                                        BACKGROUND

The Merger

       20.       The Company was originally named Holicity Inc. (“Holicity”), and was

established as a special purpose acquisition company, which completed its initial public offering

in August 2020. Holicity was incorporated for the purpose of effecting a merger, capital stock

exchange, asset acquisition, stock purchase, reorganization or similar business combination with

one or more businesses, and, prior to the Business Combination, the Company was a “shell

company” as defined under the Securities Exchange Act of 1934, as amended (the “Exchange

Act”), because it had no operations and nominal assets consisting almost entirely of cash.

       21.       On June 30, 2021, the Company consummated its previously announced business

combination pursuant to the terms of the Business Combination Agreement, dated February 2,

2021, including the merger of Holicity Merger Sub Inc., a Delaware corporation and wholly-

owned subsidiary of the Company (“Merger Sub”) with and into Astra Space, with Astra Space

continuing as the surviving corporation and as a wholly-owned subsidiary of Holicity (the

“Business Combination”). Effective as of immediately prior to the effective time of the Business

Combination, Defendants Kemp, London, McCaw, Stanford and Lehman were appointed to

serve as directors of the Company.

       22.       In connection with the closing of the Business Combination on June 30, 2021 (the



                                                 5
  Case 1:22-cv-00308-CJB Document 1 Filed 03/08/22 Page 6 of 37 PageID #: 6




“Closing”), the surviving company and wholly owned subsidiary of Holicity, Astra Space

changed its name to “Astra Space Operations, Inc.” and Holicity changed its name to “Astra

Space, Inc.”

                        FALSE AND MISLEADING STATEMENTS

       23.     On February 2, 2021, Defendants caused the Company to file with the SEC a

Form 8-K (the “February 2, 2021 Form 8-K”) signed by Defendant Ednie which attached a press

release dated February 2, 2021 entitled Astra to become the first publicly traded space launch

company on NASDAQ via merger with Holicity, which announced the merger between Astra (the

“Merger Announcement Press Release”). The Merger Announcement Press Release stated:

“‘This transaction takes us a step closer to our mission of improving life on Earth from space by

fully funding our plan to provide daily access to low Earth orbit from anywhere on the planet,’

said Chris Kemp, Founder, Chairman and CEO of Astra.” (Emphasis added.)

       24.     The February 2, 2021 Form 8-K also attached an investor presentation (the

“Investor Presentation”), which included the following slides touting the Company’s ability to

“Launch anywhere in the world in 24 hours”, its timeline, and its potential market:




                                                6
Case 1:22-cv-00308-CJB Document 1 Filed 03/08/22 Page 7 of 37 PageID #: 7




                                    7
Case 1:22-cv-00308-CJB Document 1 Filed 03/08/22 Page 8 of 37 PageID #: 8




                                    8
  Case 1:22-cv-00308-CJB Document 1 Filed 03/08/22 Page 9 of 37 PageID #: 9




       25.    On June 7, 2021, Defendants caused the Company to issue a press release entitled

Astra Acquires Apollo Fusion to Reach New Orbits, which stated the following regarding the

Apollo acquisition and its effects on the Company:

       Astra, the fastest privately funded company in history to reach space, announced
       today its planned acquisition of Apollo Fusion in a transaction valued up to $145
       million. Apollo Fusion manufactures a leading electric propulsion engine.
       This acquisition allows Astra to provide launch and space services beyond low
       Earth orbit (LEO), to medium Earth orbit, geosynchronous, and lunar orbits.

       “In addition to increasing Astra’s total addressable market for launch services,
       the acquisition of Apollo Fusion accelerates Astra’s ability to efficiently deliver
       and operate spacecraft beyond low Earth orbit,” said Astra Founder,
       Chairman, and CEO Chris Kemp.

                                             ***

       “Propulsion systems open new destinations,” said Apollo Fusion Founder and
       CEO Mike Cassidy. “Our team is excited to combine the flexibility of in-space
       propulsion with the world’s most responsive launch provider.” [Emphasis added].

       26.    On October 22, 2021, Defendants caused the Company to file with the SEC an

amended quarterly report for the period ended June 30, 2021 (the “Amendment”) signed by

                                               9
 Case 1:22-cv-00308-CJB Document 1 Filed 03/08/22 Page 10 of 37 PageID #: 10




Defendants Kemp and Brannon. Attached to the Amendment were certifications pursuant to the

Sarbanes-Oxley Act of 2002 (“SOX”) signed by Defendants Kemp and Brannon attesting to the

accuracy of financial reporting, the disclosure of any material changes to the Company’s internal

control over financial reporting and the disclosure of all fraud.

       27.     The Amendment stated the following regarding the Company’s ability to launch

“anywhere”, its addressable market, and its diversification and broadband constellation plan:

       Our system consists of a small launch vehicle and mobile ground infrastructure
       that can fit inside standard shipping containers for rapid deployment anywhere in
       the world. Our rocket requires a launch site with little more than a concrete pad
       and only six Astra employees on-site, leveraging our highly automated launch
       operations, and our production system is designed to scale efficiently to hundreds
       of launches per year. Our rocket’s payload capacity is tailored for the needs of
       modern LEO satellite constellations, allowing precise and rapid placement of
       individual satellites into their required orbits. We believe this makes Astra’s
       system more responsive and affordable than other launch alternatives, for
       thousands of LEO satellites planned in the coming decade.

       28.     On November 11, 2021, during the Company’s third quarter earnings call, when

asked about a relationship with Firefly Aerospace Inc., Defendant Kemp stated the following:

       So then finally, the question on the supplier. I think there were some articles
       online speculating a supplier. And I think I’ve discussed before, we don’t discuss
       how we manufacture things or our suppliers publicly. But what I can tell you, and
       I will reiterate here, is that all intellectual property required to produce all of our
       technology will be owned, licensed or developed by Astra. And anything you’ve
       read is not inconsistent with this strategy. So I think that’s all I can say about that
       at this point.

       29.     On November 15, 2021, Defendants caused the Company to file with the SEC its

quarterly report for the period ended September 30, 2021 (the “3Q21 Report”) signed by

Defendants Kemp and Brannon. Attached to the 3Q21 Report were certifications pursuant to

SOX signed by Defendants Kemp and Brannon attesting to the accuracy of financial reporting,

the disclosure of any material changes to the Company’s internal control over financial reporting

and the disclosure of all fraud.

                                                 10
 Case 1:22-cv-00308-CJB Document 1 Filed 03/08/22 Page 11 of 37 PageID #: 11




       30.    The 3Q21 Report stated the following regarding the Company’s ability to launch

“anywhere”, its addressable market, and its diversification and broadband constellation plan:

       Our system consists of a small launch vehicle and mobile ground infrastructure
       that can fit inside standard shipping containers for rapid deployment anywhere
       in the world. Our rocket requires a launch site with little more than a concrete
       pad and only six Astra employees on-site, leveraging our highly automated
       launch operations, and our production system is designed to scale efficiently to
       hundreds of launches per year. Our rocket’s payload capacity is tailored for the
       needs of modern LEO satellite constellations, allowing precise and rapid
       placement of individual satellites into their required orbits. We believe this makes
       Astra’s system more responsive and affordable than other launch alternatives, for
       thousands of LEO satellites planned in the coming decade.

       […] On November 4, 2021, we announced the filing of an application with the
       Federal Communications Commission for V-band spectrum access, which, if
       approved, would allow us to offer a satellite constellation in the future.

                                              ***

       On November 4, 2021, we filed an application with the Federal Communication
       Commission, under which we requested authority to launch and operate a
       nongeostationary orbit satellite system using V-band frequencies (the
       “Constellation”) as we work to build out our Space Services offering to enable
       communications.

                                              ***

       Lowering Manufacturing Costs and Increasing Payloads …

       We plan to increase the maximum payload capability of our rockets from
       approximately 50 kg for our first commercial flight to up to 500 kg for a mid-
       inclination 500 km orbit, which we believe will make Astra a compelling option
       for low Earth orbit constellation deployment and replenishment. Our affordable
       manufacturing processes use normally readily available materials and are highly
       scalable, while we believe our ongoing improvements in design and
       manufacturing will further reduce our per rocket manufacturing costs.

                                              ***

       Acquisition of Apollo Fusion

       On July 1, 2021, the Company completed its acquisition of Apollo Fusion, Inc.
       (“Apollo”), a designer and builder of thruster propulsion systems for satellite
       programs. [Emphasis added].

                                               11
 Case 1:22-cv-00308-CJB Document 1 Filed 03/08/22 Page 12 of 37 PageID #: 12




       31.     The statements referenced in ¶¶ 23-30 above were materially false and/or

misleading because they misrepresented and failed to disclose the following adverse facts

pertaining to the Company’s business which were known to Defendants or recklessly disregarded

by them. Specifically, Defendants made false and/or misleading statements and/or failed to

disclose that: (1) the Company cannot launch “anywhere”; (2) the Company significantly

overstated its addressable market; (3) the Company overstated the effectiveness of its designs

and reliability; (4) the Company significantly overstated its plans for diversification and its

broadband constellation plan; and (5) as a result, these public statements were materially false

and/or misleading at all relevant times.

                                   THE TRUTH EMERGES

       32.     On December 29, 2021, market researcher Kerrisdale Capital released a report

entitled Astra Space, Inc (ASTR): Headed for Dis-Astra (the “Report”), which alleged many

issues with the Company.

       33.     The Report stated the following regarding the Company’s claims that it can

launch anywhere:

       Management habitually describes Astra as having the flexibility to launch from
       “anywhere in the world,” which is simply not true. Just because a rocket can be
       transported in a shipping container – doesn’t mean one can lift off from any
       Walmart parking lot. In the US, Astra can only launch from an FAA-licensed
       commercial spaceport approved for vertical launch. There are only 5 such sites
       (plus SpaceX’s private Boca Chica spaceport) located in the U.S. 97% of
       launches over the last 40 years have been from only 2 launch sites: Cape
       Canaveral spaceport (30 launches in 2020) and Vandenberg Space Force Base (1
       launch in 2020). For a company aiming to launch hundreds of rockets per year,
       the reliance on a small handful of key spaceports is a bottleneck that threatens
       its whole business model. While there are ongoing modernization efforts at Cape
       Canaveral and the FAA is streamlining launch licensing requirements, these
       efforts can get bogged down in bureaucratic quagmires.

       Due to the fact vertical launch vehicles drop one or more stages downrange,

                                              12
Case 1:22-cv-00308-CJB Document 1 Filed 03/08/22 Page 13 of 37 PageID #: 13




    creating a hazard to life and property in the drop zones, vertical launches must
    take place near bodies of water (like Cape Canaveral) or in remote locations
    (Spaceport America, adjacent to White Sands Missile range in New Mexico).

                                            ***

    Perhaps in recognition of the challenge in finding sufficient domestic spaceport
    access, the company has described working hard to secure launch sites
    internationally. International space agencies, trade groups, and regulatory bodies
    are working on various fronts to improve spaceport availability, but these efforts
    generally lag that of the US and have encountered their own challenges from local
    politicians and environmentalists. How and if a US company with a US rocket
    would be granted approval – when many countries typically assign preference
    to supporting their own member nation launch programs – is also uncertain.
    With so much focus on scaling manufacturing processes and launch cadence, the
    seemingly mundane issue of finding somewhere to launch is a risk to Astra’s
    long-term vision because contrary to management’s oft repeated claim – Astra
    can’t launch from anywhere. [Emphasis added].

    34.    The Report states the following regarding the Company’s addressable market:

    Astra’s investor pitch boils down to selling the pipedream of an unprecedented
    number of cheap rocket launches. Astra’s forecast calls for 300 launches per
    year by 2025, a whopping 10x more than SpaceX achieved in 2021.
    Management markets this exceptionally aspirational goal (which we view as
    pure fantasy) in a bid to spread its expensive Bay Area manufacturing costs
    over enough rockets in order to turn a profit. A reality check is in order: To
    date, Astra has managed just one successful orbital test flight. If Astra’s five-year
    projection of almost daily successful launches of rockets made with non
    aerospace grade parts does not sound improbable enough, it ignores an even
    graver problem with Astra’s projection – not one expert whom we interviewed,
    nor any independent market study we reviewed, offered any reason to think
    that, industry-wide, sufficient market demand will exist for Astra to sustain
    approximately daily launches by 2035, let alone 2025.

                                        *     *    *

    Financial Projections Rely on Absurd Market Assumptions

    Astra’s financial forecasts rely on launching an astounding 165 rockets by 2024
    and 300 rockets by 2025. To put these figures in context, 300 launches is 10x
    the total number of US commercial launches in 2022. 300 is nearly triple the
    total number of launches conducted globally in 2020. Incredibly, despite the
    obvious engineering, manufacturing, logistical, and regulatory challenges hitting
    such a cadence would represent, Astra felt it appropriate to issue this outlook
    before successfully reaching orbit even once.

                                             13
Case 1:22-cv-00308-CJB Document 1 Filed 03/08/22 Page 14 of 37 PageID #: 14




    Planned Daily Launch Cadence Far Exceeds Addressable Market

    […] Astra touted big picture themes like “$1 trillion+ Total Space Economy in
    2040” (from Morgan Stanley), and a misleading slide that shows a large increase
    in the cumulative number of satellites to be launched in the coming years, but
    without specifying Astra’s niche role in this economy and the true addressability
    for a rocket with only a 500kg payload capability (eventually). It’s a significant
    red flag with a simple explanation: every legitimate market study that Astra could
    include would only show its projections to be laughably unrealistic – so Astra just
    left them out.

                                          ***

    Below we walk through an analysis to determine a more refined view of the
    market opportunity for Astra as it strives to establish daily launch in 2025. We
    begin with NSR’s estimate of the total number of non-GEO satellites to be
    launched in 2025 (2,255). We then apply two simple filters: 1) we exclude 90% or
    851 of NSR’s North American communications satellites forecast to account for
    Starlink (SpaceX launched 850 Starlink satellites in 2020), 2) we deduct 90% of
    satellites from Asia and 20% from Europe based on the contribution to these
    regions from Chinese and Russian satellites.




    At less than 600 satellites, the entire non-captive TAM for launch is easily
    supported by less than 100 total launches. SpaceX rideshare recently set a record
    for 134 satellites on a single mission. Juxtapose a potential addressable market
    of less than 100 launches in aggregate, with Astra’s projection of conducting

                                            14
Case 1:22-cv-00308-CJB Document 1 Filed 03/08/22 Page 15 of 37 PageID #: 15




    300 launches themselves when there are dozens of competitors, and one can see
    why our conversations with a range of industry participants yielded the
    following comments regarding Astra’s plans:

    “I laugh at that number . . . . There’s no way they are doing 300 launches by
    2025; by 2035 it would still be a stretch.”

    — Senior Engineer, launch broker

    “We are, all around in the industry, in the same spot. Even within Astra and at
    [our small launch company], I’m looking at [1/10th Astra’s number] rockets,
    and we are freaking out – are we really going to have enough customers for
    this?”

    — Senior Engineer, small launch provider

    “Happy they got to orbit on last launch a few weeks ago, that’s great, but there’s
    just a lot of issues with their rocket and their business model…claims of
    launching every day? It’s pretty exciting when a launch provider can launch once
    a month – and sure, everyone would love for rockets to be like airplanes – that’s
    not going to happen for at least another decade. So yes, I have some serious
    concerns about Astra’s claims.”

    — Mission Manager for a broadband mega-constellation

    … We believe there will always be some level of interest in a service that can
    regularly/flexibly bring a handful of smallsats to a specific orbital location, even
    at a premium price to rideshares – but that is a niche offering in a highly
    competitive field. It is not an addressable market that comes anywhere near
    supporting 300 launches per year for a single company with Astra’s limited
    capabilities.

                                       *     *    *

    This is because while satellite volumes are increasing, launch pricing is under
    constant deflationary pressure (the latter is enabling the former).

    Competition from new entrants and from larger rideshare players lowering
    price, cost efficiencies from reusable launchers, and improvements in
    technology and operations all conspire to exert downward pressure on price.
    Taken together, we estimate a total launch market value that averages ~$13bn per
    year over the next several years, with a whopping 85% accounted for in
    constellations, where larger launch vehicles enjoy economies of scale, leaving an
    annual TAM for a small launcher like Astra in the $~2 billion dollar range.
    Astra’s 2025E launch revenue forecast of $1.125bn assumes it can hold ASP
    constant at $3.75m and rise in 4 years to become the dominant player in the small

                                            15
Case 1:22-cv-00308-CJB Document 1 Filed 03/08/22 Page 16 of 37 PageID #: 16




    launch market. Either NSR is too pessimistic (which anyone who has followed the
    industry knows is not usually how industry projections work) or, as we would
    contend, the projections of a new space SPAC, announced at the height of the
    bubble (two days before Virgin Galactic hit its all-time high of $62) is complete
    fantasy.

    Without High Launch Cadence, Astra’s Business Model Falls Apart

    […] The problem lies in the unit economics of launch. […]

                                          ***

    Investors should be asking whether Astra devised a launch cadence to meet
    market demand or to merely solve for the inherent weaknesses in its business
    model? Our research, supported by a range of interviews with key industry
    players, point strongly to the latter. Astra took full advantage of the lack of
    scrutiny SPACs enjoyed earlier this year relative to traditional IPOs, passed off
    a launch cadence without any supporting market demand, and sold equity in a
    bubble that has now burst. As a launch services broker with direct insight into
    market trends on a global basis described, “we get it, it was a cash grab…but how
    are you not going to squander all this money? Astra is all show and it’s not clear
    where they’re going to go aside from just building a bunch of stuff.” [Emphasis
    added].

    35.    The Report stated the following regarding the Company’s designs:

    Its main competitors will soon be launching larger 1,000kg+ payload rockets
    while Astra has yet to overcome developmental hurdles necessary to successfully
    launch even a single satellite into any of the emerging broadband mega
    constellations. Shortly after Astra announced its SPAC merger, the company
    increased its payload capacity goal (not a trivial matter in rocket programs) and
    signed a “secret” deal with a competitor for access to some of the competitor’s
    more powerful engine IP – both clear signs that Astra is struggling to keep pace
    with market leaders. Moreover, Astra shortsightedly relies on cheap, off-the-shelf
    commercial parts – a strategy that precludes it from exploiting the economic
    advantages that its more sophisticated competitors enjoy by developing reusable
    rockets that in the long run reduce expenses. Consequently, Astra remains
    strikingly vulnerable to the relentless price deflation that characterizes today’s
    launch market.

                                     *      *     *

    Undersized and Not Reusable: Astra is Falling Behind Industry Trends

                                     *      *      *



                                           16
Case 1:22-cv-00308-CJB Document 1 Filed 03/08/22 Page 17 of 37 PageID #: 17




    Not only is the overall addressable market Astra has promoted vastly overstated –
    Astra’s development path is on the wrong side of key trends within the industry:
    larger payloads and reusability.

    Most of the increase in mass-to-orbit in the coming decade will be as part of large
    broad band constellations. According to NSR, nearly 80% of all non-GEO
    satellites from now until the end of the decade will be part of constellations of
    communications smallsats. Smallsat manufacturers are taking advantage of
    declining launch costs to build larger, more sophisticated constellations of
    satellites which generally have more mass than previous iterations.

                                       *      *     *

    Now examine Astra’s development path and some of the changes it has
    announced only months into being a public company. At the time of the SPAC
    announcement 10 months ago, Astra’s stated goal was a 300kg payload to 500km
    Sun-Synchronous Orbit by 2023. By 2025, it hoped a vehicle that can “throw
    about 300 kilograms to a reference orbit” would be launched daily. Only 3 months
    later however, in conjunction with the Planet launch agreement, Astra announced
    a new goal: 500kg to 500km LEO. Why the sudden change? Because according to
    experts in the industry, management likely knew that to make good on claims that
    Astra could “meet the needs of all these mega-constellations like Kuiper”, it
    needed a rocket with more than just a 300kg payload.

    Announcing a 66% jump in payload capacity is not a trivial matter in rocket
    development. It involves meaningful redesign work with new components and a
    more powerful engine – one that apparently Astra did not have. As a sign of
    Astra’s unpreparedness, four months after the new 500kg objective, Astra signed
    a “secret” deal to purchase the IP for an engine powerful enough to launch this
    new 500kg payload from its competitor, Firefly Aerospace (more on this later).

    Even with this shortcut, Astra will still only have a rocket two years from now
    that is able to launch 1 Project Kuiper satellite, barely 2 Project Pelican satellites
    from Planet, and zero Gen2 Starlink satellites.

                                        *      *    *

    In addition to higher payloads, rockets that are partially or fully reusable continue
    to lower the cost profile of the launch industry. In the conference call announcing
    Astra’s SPAC merger, management claimed the unit economics of mass
    manufacturing small rockets could match that of a large rocket. Below we walk
    through how that falls apart once one factors in the marginal cost of SpaceX’s
    reusable Falcon 9 and planned Starship.




                                             17
Case 1:22-cv-00308-CJB Document 1 Filed 03/08/22 Page 18 of 37 PageID #: 18




    […] After the maiden voyage however, Musk has stated the marginal cost of
    refurbishing and launching a reusable Falcon 9 drops to only $15m. Applied
    against a 13,680kg payload, (a reduction of 40%) to account for the reusability of
    the booster and fairing, and now the incremental cost of production is nearly half
    that of Astra’s target for 2025. The cost advantage for a re-used Starship is even
    more dramatic. Musk has outlined the possibility Starship may fly for a marginal
    cost of just $2m, a staggering $20/kg, orders of magnitude cheaper than anything
    Astra can hope to achieve (even if one discounts Musk’s hyperbolic tendencies).

    Other small launchers in the industry are following SpaceX’s path to capture these
    economics. Rocket Lab’s Electron is being evolved to become partially reusable
    using parachutes and mid-air recapture, while its Neutron rocket will be partially
    reusable thanks to propulsive landing. Relativity Space aims to start flying a fully
    re-usable, 3D-printed Terran R rocket in 2024. VC start-ups like STOKE are
    developing reusable rockets. Astra on the other hand, a company with a corporate
    slogan of “Improve life on Earth from Space,” and a CEO with a “vision of a
    healthier” planet has no path to developing a reusable rocket, and apparently does
    not see a problem with having hundreds of rockets land in the ocean every year.

                                       *     *     *

    “Secret” Firefly Engine Deal is Sign of Weakness

    On September 21, the tech blog TheVerge.com, reported that Astra agreed to
    acquire the right to manufacture rocket engines in-house from launch competitor,
                                            18
 Case 1:22-cv-00308-CJB Document 1 Filed 03/08/22 Page 19 of 37 PageID #: 19




          Firefly Aerospace, for roughly $30m. The article references internal Firefly
          documents viewed by the publication and includes specifics which suggest the
          agreement was leaked by Firefly. Though Astra’s CEO and VP of
          Communications declined to comment on certain specifics of the agreement,
          neither disputed its existence (there is no mention of this material agreement in
          Astra’s SEC filings and no press releases were ever issued by either company).
          When asked on the last quarterly call about the reported Firefly relationship,
          management once again did not disclaim the existence of the agreement, stating
          that anything the analyst had read online was “not inconsistent” with a strategy of
          all technology being “owned, licensed, or developed by Astra.

          So why the cloak and dagger? Perhaps Astra is aware that buying the IP for
          the most critical piece of hardware on a rocket from a direct competitor is not
          exactly a good look. …

          Unsurprisingly, when doing a deal with a competitor, the agreement has some
          important restrictions. The IP agreement allegedly includes a clause that only
          allows Astra to use two Reaver engines per rocket – enough to hit Astra’s goal
          of 500kg to 500km – but no more. Recall that Firefly is developing a 630kg-
          1,000kg rocket, and therefore the agreement caps Astra’s use of the IP just
          below Firefly’s capability and the emerging sweet spot for smaller launchers.
          Firefly seems content to help Astra for a price – but it isn’t foolish enough to
          solve a direct competitor’s problem of being undersized. [Emphasis added].

          36.    The Report stated the following regarding the Company’s reliability and quality

issues:

          Ignoring Reliability Issues is a Risky Game

          Conversations with an individual familiar with Astra’s rocket design and
          manufacturing suggest investors may have to endure an uncomfortably high rate
          of failure as the company ramps to a targeted monthly launch cadence in 2022.
          Astra has previously stated “we’re actually not shooting for 100 percent
          reliability” and is willing to trade a small amount of reliability for cost savings.
          Note that, despite “accepting less than 100%” reliability, Astra’s financial
          projections as presented during the SPAC process assume zero failures
          (naturally).

          CEO Chris Kemp has said an 80% success rate is a level Astra internally deems
          acceptable, substantially lower than the high 90s of far more sophisticated launch
          programs. This rate is an aspirational goal as the company continues to test
          and refine manufacturing, not the company’s current level of anticipated
          quality. At the current stage of Astra’s development, our source believes the risk
          of failure is as high as 1 in 2 launches.



                                                  19
 Case 1:22-cv-00308-CJB Document 1 Filed 03/08/22 Page 20 of 37 PageID #: 20




       The stakes are now substantially higher. Astra is trying to develop reliability of a
       cheap rocket, built without any redundancies, under the scrutiny of public
       markets to which it needs continued access. [Emphasis added].

       37.    The Report stated the following regarding the Company’s plans for diversification

and its broadband constellation plan:

       Space Services Strategy Lacks Clarity and Credibility

       In June, Astra announced the acquisition of Apollo Fusion, a manufacturer of
       electric propulsion engines for small satellites, in a transaction valued up to
       $145m ($30m in stock, $20m in cash, and an additional $95m in potential
       earnouts).

       The acquisition is part of a broader trend within the industry to move beyond just
       launch services to higher margin, in-space sources of revenue. As Firefly CEO
       Tom Markusic explained, “the rocket gives you the keys to space. It’s critically
       important, but the big revenue is doing things in space.” The need for this
       diversification is driven by the fact that while launching rockets to the heavens
       can be an awe-inspiring event – as an actual business there’s not a lot to be
       excited about. At its core, building and launching rockets is a risky, capital
       intensive, non-recurring, low-margin hardware business. Greater profits (and
       valuations) lie in moving up the value chain to develop turnkey “space
       solutions”, orbital transport vehicles, and operating constellations.

                                          *     *    *

       The problem with a small launcher that wants to provide greater service in space
       is everyone has the same idea. Making orbit transfer vehicles (OTVs) that
       facilitate “last mile” delivery of a satellite to a specific orbit or moving beyond
       LEO to MEO [medium Earth orbit], GEO [geosynchronous orbit] and lunar orbits
       is a crowded field. Our research yielded no fewer than 10 domestic launch
       providers, component suppliers, rideshare aggregators, and smallsat propulsion
       manufacturers that have OTVs in development with launch dates over the next 3
       years, and another 8 internationally. The prospects for developing a successful
       broadband constellation is even more challenging. Astra’s crazily ambitious
       Vband constellation is years behind Starlink, OneWeb, and Project Kuipe
       without any of the technical and financial resources, and without a business
       case that justifies the bootstrapping of yet another broadband
       megaconstellation. Taken together, Astra’s acquisition of Apollo Fusion and V-
       band spectrum application are uninspired attempts at mimicking the strategies of
       more advanced competitors which underscore the limitations of its undersized
       rocket in providing in-space solutions.

       An engineer we spoke with who is familiar with Apollo Fusion’s history stated

                                               20
Case 1:22-cv-00308-CJB Document 1 Filed 03/08/22 Page 21 of 37 PageID #: 21




    the company originally generated excitement within the propulsion community
    for a system using iodine as a propellant. The technology didn’t work as hoped
    and within a couple years Apollo transitioned to using Mercury, a low pressure
    propellant used in thrusters since the 1960’s. Just like iodine, Mercury is toxic,
    and after the idea of working with a dangerous neurotoxin before showering into
    the atmosphere was (thankfully) reconsidered, it too was discontinued in favor of
    Apollo’s current propulsion system based on Xenon and Krypton – propellants
    that nearly everyone in the propulsion industry has been using for decades. As the
    expert explained, “[Apollo Fusion] is a company that has made claim 1 and
    failed, made claim 2 and failed, and is now building something that everyone
    else has been building forever.” Without any proven technological
    differentiation, the only way to win business is price, a market position which
    puts a dent in the strategy of “moving up the value chain.”

    Astra’s acquisition of Apollo Fusion is an example of a company making
    decisions based on what it must do given the limitations of its rocket – not what
    the market wants, and not what a company without such limitations would ever
    devise. The right solution for an OTV would have been chemical propulsion but
    Astra couldn’t go that route because of the bulkier dimensions of the system’s
    propellant tanks. Under pressure to keep up with competitors, electric propulsion
    was simply the only option small and light enough to fit in Astra’s rocket. While
    others in the industry like Rocket Lab are developing well-suited, best-in-class
    technology, enabling a variety of TAM-expanding missions, Astra is settling for
    suboptimal acquired technology with only niche applications.

    Broadband Constellation Plan is a Pipedream

                                     *       *      *

    A few months after acquiring Apollo Fusion, Astra filed an application with the
    FCC to use V-band spectrum for a constellation of up to 13,620 satellites. V-band
    is high frequency spectrum that sits above Ka-band, from 40GHz-75GHz, and I
    sensitive to rain fade and physical interference. No ecosystem currently exists to
    support the use of V-band for space-based telecommunications. As described by
    satellite communications expert, Chris Quilty of Quilty Analytics, “It’s expensive,
    it’s early stage, and there are limited sources of supply. I would argue that
    companies that are trying to build these components on their own are going to run
    into significant engineering challenges.”

    It’s worth pausing to note the absurdity of the FCC filing: Astra has never built
    a single satellite; it has not yet proven it can reliably execute on its core
    business of launching small rockets – and yet, it filed an application for a
    constellation 2x larger than the next largest proposal from Amazon. While the
    application technically amounts to little more than a procedural “land grab” for
    spectrum rights, investors should be concerned about how and why a launch
    company still working out the kinks of rocket development would even

                                            21
 Case 1:22-cv-00308-CJB Document 1 Filed 03/08/22 Page 22 of 37 PageID #: 22




       contemplate the endeavor. Unsurprisingly, Kemp seems to want to avoid talking
       about the entire project.

                                           *     *     *

       And where would the money for any of this come from? Astra only has enough
       cash on hand to get through 2023 (maybe). Satellite manufacturing, terminal
       development, gateways, regulatory approval, landing rights . . . the list goes on
       and the costs are staggering. Musk has pegged Starlink total investment costs at
       between $20 and $30 billion, OneWeb went bankrupt, and Project Kuiper and
       Telesat are years behind schedule. We believe Kemp does not wish to discuss
       Apollo Fusion technology being used for an internal satellite bus or the
       development of an Astra constellation, because the enormity of the costs and
       equity dilution involved would send investors running for the hills.

       Attempts to “expand TAM” through M&A and develop higher margin service
       revenue are a distraction when Astra hasn’t even executed on its supposed core
       competency: launching rockets. [Emphasis added].

       38.     On this news, the Company’s shares fell $1.10 per share, or approximately 14%,

to close at $6.61 per share on December 29, 2021.

                       DUTIES OF THE DIRECTOR DEFENDANTS

       39.     By reason of their positions as officers and/or directors of the Company, and

because of their ability to control the business and corporate affairs of the Company, the Director

Defendants owed the Company and its investors the fiduciary obligations of trust, loyalty, and

good faith. The obligations required the Director Defendants to use their utmost abilities to

control and manage the Company in an honest and lawful manner. The Director Defendants

were and are required to act in furtherance of the best interests of the Company and its investors.

       40.     Each director of the Company owes to the Company and its investors the fiduciary

duty to exercise loyalty, good faith, and diligence in the administration of the affairs of the

Company and in the use and preservation of its property and assets. In addition, as officers

and/or directors of a publicly held company, the Director Defendants had a duty to promptly

disseminate accurate and truthful information regarding the Company’s operations, finances, and

                                                22
 Case 1:22-cv-00308-CJB Document 1 Filed 03/08/22 Page 23 of 37 PageID #: 23




financial condition, as well as present and future business prospects, so that the market price of

the Company’s stock would be based on truthful and accurate information.

       41.    To discharge their duties, the officers and directors of the Company were required

to exercise reasonable and prudent supervision over the management, policies, practices, and

controls of the affairs of the Company. By virtue of such duties, the officers and directors of the

Company were required to, among other things:

               (a)         ensure that the Company complied with its legal obligations and

       requirements, including acting only within the scope of its legal authority and

       disseminating truthful and accurate statements to the SEC and the investing public;

               (b)         conduct the affairs of the Company in an efficient, businesslike

       manner so as to make it possible to provide the highest quality performance of its

       business, to avoid wasting the Company’s assets, and to maximize the value of the

       Company’s stock;

               (c)         properly and accurately guide investors and analysts as to the true

       financial condition of the Company at any given time, including making accurate

       statements about the Company’s business prospects, and ensuring that the Company

       maintained an adequate system of financial controls such that the Company’s financial

       reporting would be true and accurate at all times;

               (d)         remain informed as to how the Company conducted its operations,

       and, upon receipt of notice or information of imprudent or unsound conditions or

       practices, make reasonable inquiries in connection therewith, take steps to correct such

       conditions or practices, and make such disclosures as necessary to comply with federal

       and state securities laws;



                                                23
 Case 1:22-cv-00308-CJB Document 1 Filed 03/08/22 Page 24 of 37 PageID #: 24




               (e)         ensure that the Company was operated in a diligent, honest, and

       prudent manner in compliance with all applicable federal, state and local laws, and rules

       and regulations; and

               (f)         ensure that all decisions were the product of independent business

       judgment and not the result of outside influences or entrenchment motives.

       42.    Each Director Defendant, by virtue of his or her position as a director and/or

officer, owed to the Company and to its shareholders the fiduciary duties of loyalty, good faith,

and the exercise of due care and diligence in the management and administration of the affairs of

the Company, as well as in the use and preservation of its property and assets.

       43.    The conduct of the Director Defendants complained of herein involves a knowing

and culpable violation of their obligations as directors and officers of the Company, the absence

of good faith on their part, and a reckless disregard for their duties to the Company and its

shareholders that the Director Defendants were aware, or should have been aware, posed a risk

of serious injury to the Company.

       44.    The Director Defendants breached their duties of loyalty and good faith by

causing the Company to issue false and misleading statements concerning the business results

and prospects of the Company. As a result, the Company has expended, and will continue to

expend, significant sums of money related to investigations and lawsuits.

                           THE AUDIT COMMITTEE CHARTER

       45.    The primary purpose of the Audit Committee is to discharge the responsibilities of

the Board with respect to the Company’s accounting, financial, and other reporting and internal

control practices and to oversee our independent registered accounting firm. The Audit

Committee’s specific responsibilities include: (i) selecting a qualified firm to serve as the



                                                24
 Case 1:22-cv-00308-CJB Document 1 Filed 03/08/22 Page 25 of 37 PageID #: 25




independent registered public accounting firm to audit our financial statements; (ii) helping to

ensure the independence and performance of the independent registered public accounting firm;

(iii) discussing the scope and results of the audit with the independent registered public

accounting firm, and reviewing, with management and the independent accountants, our interim

and year-end operating results; (iv) developing procedures for employees to submit concerns

anonymously about questionable accounting or audit matters; (v) reviewing policies on risk

assessment and risk management; (vi) reviewing related party transactions; (vii) obtaining and

reviewing a report by the independent registered public accounting firm at least annually, that

describes our internal quality-control procedures, any material issues with such procedures, and

any steps taken to deal with such issues when required by applicable law; and (viii) approving

(or, as permitted, pre-approving) all audit and all permissible non-audit service to be performed

by the independent registered public accounting firm.

       46.    The Audit Committee Charter (the “Charter”) defines the duties and

responsibilities of the Audit Committee:

       5.     Duties and Proceedings of the Committee. The Committee shall assist the
              Board in fulfilling its oversight responsibilities by performing the
              following duties:

              5.1.    Oversight of the Independent Auditor.

                      (a)    Annually evaluate, determine the selection of and, if
                             necessary, determine the replacement or rotation of the
                             independent auditor, the lead audit partner and any other
                             active audit engagement team.
                      (b)    Approve or pre-approve all auditing services (including
                             comfort letters and statutory audits) and all permitted non-
                             audit services by the independent auditor and pre-approve
                             the related fees. By this Charter, the Committee hereby
                             delegates to each of its members, acting singly, the
                             authority to pre-approve any audit services if the need for
                             consideration of a pre-approval request arises between
                             regularly scheduled meetings. Any such approvals shall be

                                               25
Case 1:22-cv-00308-CJB Document 1 Filed 03/08/22 Page 26 of 37 PageID #: 26




                       presented to the Committee at its next scheduled meeting or
                       as soon as practicable thereafter.
                 (c)   Ensure the receipt of, review, evaluate and discuss formal
                       written reports, at least annually, from the independent
                       auditor regarding the auditor’s independence, including a
                       delineation of all relationships between the auditor an the
                       Company; engage in a dialogue with the independent
                       auditor with respect to any disclosed relationships or
                       services that may impact its objectivity and independence;
                       and take, or recommend that the Board take, appropriate
                       action to oversee the independence of the independent
                       auditor.
                 (d)   Establish hiring policies for employees or former employees
                       of the independent auditors.
                 (e)   At least annually, (i) obtain and review a report, orally or in
                       writing, from the independent auditor describing the firm’s
                       internal quality-control procedures and any material issues
                       raised by the most recent internal quality-control review, or
                       peer review, of the firm, or by any inquiry or investigation
                       by governmental or professional authorities, within the
                       preceding five years, with respect to one or more
                       independent audits carried out by the firm, and any steps
                       taken to deal with any such issues, and (ii) assess the
                       auditor’s independence and all relationships between the
                       independent auditor and the Company.
                 (f)   Obtain from the independent auditors assurance that, to the
                       extent applicable, Section 10A(b) of the Exchange Act (as
                       set forth on Appendix I hereto), has not been implicated.

          5.2.   Oversight of Audit Process and Company’s Legal Compliance
                 Program.

                 (a)   Review with the independent auditor the overall scope and
                       plans for audits, including authority and organizational
                       reporting lines and adequacy of staffing and compensation.
                       Review with the independent auditor any noteworthy audit
                       problems or difficulties, including any restrictions on the
                       scope of the independent auditor’s activities or on access to
                       requested information and any significant disagreements
                       with management, and management’s response to such
                       problems or difficulties.
                 (b)   Review and discuss with management and the independent
                       auditor the Company’s system of internal controls, its
                       financial and critical accounting practices and its policies
                       relating to risk assessment and management.



                                         26
Case 1:22-cv-00308-CJB Document 1 Filed 03/08/22 Page 27 of 37 PageID #: 27




                (c)   Review disclosures about any significant deficiencies or
                      material weaknesses in the design or operation of the
                      Company’s system of internal controls and any fraud
                      involving management or employees playing a significant
                      role in the Company’ system of internal controls, including,
                      to the extent applicable, any disclosures made by the
                      Company’s principal executive officer and principal
                      financial officer during their certification process for the
                      Annual Report on Form 10-K and Quarterly Reports on
                      Form 10-Q.
                (d)   Review any special steps or remedial measures adopted in
                      light of material control weaknesses or significant
                      deficiencies, if any.
                (e)   Review, to the extent applicable, the Company’s internal
                      controls report and the independent auditors’ internal
                      controls report prior to the filing of any reports, including
                      without limitation, any Annual Report on Form 10-K
                      required to be filed by the Company with the SEC.
                (f)   Review with management the Company’s procedures and
                      practices designed to provide reasonable assurance that: (i)
                      the Company’s books, records, accounts and internal
                      accounting controls are established and maintained in
                      compliance with all applicable federal and state laws,
                      regulations and requirements to which the Company is
                      subject, and (ii) there are adequate company-level controls
                      in place to prevent or detect (A) any improper or illegal
                      disbursement of corporate funds or property of value or (B)
                      the making of any arrangement on behalf of the Company
                      which may provide for or result in the improper or illegal
                      disbursement of funds or property of value, in order that the
                      Company be in compliance with such laws and regulations.
                (g)   Receive and review reports of the independent auditor
                      discussing (i) all critical accounting policies and practices
                      used in the preparation of the Company’s financial
                      statements, (ii) all alternative treatments of financial
                      information within GAAP that have been discussed with
                      management, the ramifications of the use of such
                      alternatives and the treatment preferred by the independent
                      auditor and (iii) other material written communications
                      between the independent auditor and management, such as
                      any management letter or schedule of unadjusted
                      differences.
                (h)   Discuss with management and the independent auditor
                      changes in the Company’s critical accounting principles and
                      the effects of alternative GAAP methods, off-balance sheet
                      structures and regulatory and accounting initiatives.

                                        27
Case 1:22-cv-00308-CJB Document 1 Filed 03/08/22 Page 28 of 37 PageID #: 28




                (i)   Review and discuss with management and the independent
                      auditor the annual and quarterly financial statements and
                      management’s discussion and analysis of financial
                      condition and results of operation of the Company prior to
                      the filing of the Company’s Annual Reports on Form 10-K
                      and Quarterly Reports on Form 10-Q. Discuss results of the
                      annual audit and quarterly reviews and any other matters
                      required to be communicated to the committee by the
                      independent auditor under generally accepted auditing
                      standards, including Auditing Standard No. 1301 (as may
                      be modified or supplemented). Discuss with management
                      and the independent auditor their judgment about the
                      quality of accounting principles, the reasonableness of
                      significant judgments, including a description of any
                      transactions as to which management obtained Statement on
                      Auditing Standards No. 50 letters, and the clarity of
                      disclosures in the financial statements, including the
                      Company’s disclosures of critical accounting policies and
                      other disclosures in “Management’s Discussion and
                      Analysis of Financial Condition and Results of Operations”
                      in its Annual Reports on Form 10-K and Quarterly Reports
                      on Form 10-Q. Discuss with the independent auditor critical
                      audit matters (“CAM”) and related CAM disclosures.
                (j)   Review, or establish standards for the type of information
                      and the type of presentation of such information to be
                      included in, earnings press releases (paying particular
                      attention to the use of “pro forma” or “non-GAAP financial
                      measures”) and guidance provided to analysts and rating
                      agencies.
                (k)   On a timely basis, discuss with management and the
                      independent auditors any correspondence with regulators or
                      governmental agencies and any published reports, if any,
                      that raise material issues regarding, or call into question the
                      integrity of, the Company’s financial statements or
                      accounting policies.
                (l)   Review material pending legal proceedings involving the
                      Company and other contingent liabilities and oversee the
                      Company’s activities with respect to such legal
                      proceedings.
                (m)   Establish procedures for the prompt internal reporting,
                      including confidential reporting of violations of the Code of
                      Business Conduct and Ethics and receipt, retention and
                      treatment of complaints received by the Company regarding
                      accounting, internal accounting controls or auditing matters,
                      and the confidential, anonymous submissions by employees
                      of concerns regarding questionable accounting or auditing

                                        28
 Case 1:22-cv-00308-CJB Document 1 Filed 03/08/22 Page 29 of 37 PageID #: 29




                             matters and any other violations of the Company’s policies.
                             Review any such complaints and submissions that have
                             been received, including the current status and the
                             resolution if one has been reached, and retain authority to
                             determine the appropriate response and remedy.
                     (n)     Assist the Board in its oversight of risk, which includes
                             without limitation overseeing the management of financial
                             risks, such as with respect to accounting matters, liquidity
                             and credit risks, corporate tax positions, insurance coverage,
                             insider trading and cash investment strategy and results, and
                             risks relating to the performance of the Company’s internal
                             audit function and its independent registered public
                             accounting firm, as well as the Company’s systems of
                             internal controls and disclosure controls and procedures.
                     (o)     Oversee the integrity of the Company’s information
                             technology systems, processes and data, and shall review
                             and assess with management on a quarterly basis, (i) the
                             adequacy of controls and security for the Company’s
                             information technology systems, processes and data, and (ii)
                             the Company’s contingency plans in the event of a
                             breakdown or security breach affecting the Company’s
                             information technology systems.
                     (p)     Review with management the Company’s disclosure
                             controls and procedures related to internally reporting and
                             processing information about cyber security risks and
                             incidents to ensure that such information is reported to the
                             appropriate personnel to enable senior management to make
                             timely and appropriate disclosure decisions with respect to
                             such information.
                     (q)     Pursuant and in accordance with the Related Party
                             Transactions Policy, review and approve any proposed
                             transaction with a value between the Company and any
                             related party or related person (other than transactions that
                             are subject to review by the Board of Directors as a whole
                             or another independent body of the Board of Directors), as
                             defined by applicable law, the Nasdaq rules, or the rules of
                             the Securities and Exchange Act of 1934, as amended.

               DERIVATIVE AND DEMAND FUTILITY ALLEGATIONS

       47.    Plaintiffs bring this action derivatively in the right and for the benefit of the

Company to redress injuries suffered and to be suffered as a direct and proximate result of the

breaches of fiduciary duties by Defendants.



                                               29
 Case 1:22-cv-00308-CJB Document 1 Filed 03/08/22 Page 30 of 37 PageID #: 30




          48.   Plaintiffs will adequately and fairly represent the interests of the Company in

enforcing and prosecuting its rights and retained counsel competent and experienced in

derivative litigation.

          49.   During the illegal and wrongful course of conduct at the Company and to the

present, the Board consisted of Defendants Kemp, London, McCaw, Stanford, Lehman,

Flournoy and Nelson. Because of the facts set forth throughout this Complaint, demand on the

Company Board to institute this action is not necessary because such a demand would have been

a futile and useless act.

          50.   Defendants either knew or should have known of the false and misleading

statements that were issued on the Company’s behalf and took no steps in a good faith effort to

prevent or remedy that situation.

          51.   Defendants (or at the very least a majority of them) cannot exercise independent

objective judgment about whether to bring this action or whether to vigorously prosecute this

action.    For the reasons that follow, and for reasons detailed elsewhere in this complaint,

Plaintiffs have not made (and should be excused from making) a pre-filing demand on the Board

to initiate this action because making a demand would be a futile and useless act.

          52.   Each of the Defendants approved and/or permitted the wrongs alleged herein to

have occurred and participated in efforts to conceal or disguise those wrongs from the

Company’s stockholders or recklessly and/or with gross negligence disregarded the wrongs

complained of herein and are therefore not disinterested parties.

          53.   Each of the Defendants authorized and/or permitted the false statements to be

disseminated directly to the public and made available and distributed to shareholders,

authorized and/or permitted the issuance of various false and misleading statements, and are



                                                30
 Case 1:22-cv-00308-CJB Document 1 Filed 03/08/22 Page 31 of 37 PageID #: 31




principal beneficiaries of the wrongdoing alleged herein, and thus, could not fairly and fully

prosecute such a suit even if they instituted it.

        54.    Additionally, each of the Defendants received payments, benefits, stock options,

and other emoluments by virtue of their membership on the Board and their control of the

Company.

Defendant Kemp

        55.    Because of his CEO and Chairman of the Board with the Company, Defendant

Kemp is not independent.

        56.    Defendant Kemp was responsible for most of the false and misleading statements

and omissions that were made, including those contained in the Company’s SEC filings

referenced herein, many of which he either personally made or signed off on.

        57.    Defendant Kemp is not independent from Defendants Lehman and Stanford,

because they comprise the Compensation Committee and are responsible for evaluating and

determining the compensation of the CEO (Defendant Kemp). Because of his status as an inside

director, and the concomitant substantial compensation he receives, Defendant Kemp could not

consider a demand adverse to the members of the Compensation Committee as they are

responsible for his financial future.

        58.    Defendant Kemp is also a Defendant in the securities class action entitled Artery

v. Astra Space, Inc., et al., Case No.: 1:22-cv-00737-DG-MMH (E.D.N.Y.) (the “Securities

Class Action”) and faces a substantial likelihood of liability; therefore, demand on Defendant

Kemp is futile.

        59.    Defendant Kemp has 38.17% of the voting power of Company stock. Percentage

of total voting power represents voting power with respect to all shares of Class A common stock



                                                    31
 Case 1:22-cv-00308-CJB Document 1 Filed 03/08/22 Page 32 of 37 PageID #: 32




and Class B common stock, as a single class. Each share of Class B common stock is entitled to

10 votes per share and each share of Class A common stock is entitled to one vote per share.

Because of his majority holding and control over the Company, Defendants McCaw, Stanford,

Lehman, Flournoy and Nelson would not pursue claims against Defendant Kemp.

Defendant London

        60.    Because of employment with the Company as Chief Technology Officer,

Defendant London is not independent.

        61.    Defendant London is not independent from Defendants Lehman and Stanford,

because they comprise the Compensation Committee and are responsible for evaluating and

determining the compensation of Defendant London. Because of his status as an inside director,

and the concomitant substantial compensation he receives, Defendant London could not consider

a demand adverse to the members of the Compensation Committee as they are responsible for

his financial future.

        62.    Defendant London has 38.17% of the voting power of Company stock.

Percentage of total voting power represents voting power with respect to all shares of Class A

common stock and Class B common stock, as a single class. Each share of Class B common

stock is entitled to 10 votes per share and each share of Class A common stock is entitled to one

vote per share. Because of his majority holding and control over the Company, Defendants

McCaw, Stanford, Lehman, Flournoy and Nelson would not pursue claims against Defendant

Kemp.

Defendants Lehman, Nelson and Stanford

        63.    Defendants Lehman, Nelson and Stanford served as members of the Audit

Committee during the Relevant Period. Pursuant to the Audit Committee Charter, the Audit



                                               32
 Case 1:22-cv-00308-CJB Document 1 Filed 03/08/22 Page 33 of 37 PageID #: 33




Committee Defendants were responsible for, inter alia, the effectiveness of the Company’s

internal controls, the integrity of its financial statements, and aspects of risk management,

including legal and regulatory compliance that may affect the Company’s financial reporting.

Defendants Lehman, Nelson and Stanford failed to ensure the integrity of the Company’s

internal controls, as they are charged to do under the Audit Committee Charter and to issue false

and misleading financial statements with the SEC. Thus, Defendants Lehman, Nelson and

Stanford breached their fiduciary duties, are not disinterested, and demand is excused as to them.

                                            COUNT I

                     (Against Defendants For Breach Of Fiduciary Duty)

       64.     Plaintiffs incorporate by reference and reallege each and every allegation

contained above, as though fully set forth herein.

       65.     Defendants owed the Company fiduciary obligations. By reason of their fiduciary

relationships, Defendants owed the Company the highest obligation of good faith, fair dealing,

loyalty, and due care.

       66.     Defendants violated and breached their fiduciary duties of care, loyalty,

reasonable inquiry, and good faith.

       67.     Defendants engaged in a sustained and systematic failure to properly exercise

their fiduciary duties. Among other things, Defendants breached their fiduciary duties of loyalty

and good faith by permitting the use of inadequate practices and procedures to guide the truthful

dissemination of Company news to the investing public and to the Company’s shareholders,

allowing or permitting false and misleading statements to be disseminated in the Company’s

SEC filings and other public disclosures and, otherwise failing to ensure that adequate internal

controls were in place regarding the serious business reporting issues and deficiencies described



                                                33
 Case 1:22-cv-00308-CJB Document 1 Filed 03/08/22 Page 34 of 37 PageID #: 34




above. These actions could not have been a good faith exercise of prudent business judgment to

protect and promote the Company’s corporate interests.

       68.     As a direct and proximate result of Defendants’ failure to perform their fiduciary

obligations, the Company has sustained significant damages. As a result of the misconduct

alleged herein, Defendants are liable to the Company.

       69.     As a direct and proximate result of Defendants’ breach of their fiduciary duties,

the Company has suffered damage, not only monetarily, but also to its corporate image and

goodwill. Such damage includes, among other things, costs associated with defending and/or

settling securities lawsuit and severe damage to the share price of the Company’s stock, all

resulting in an increased cost of capital, and reputational harm.



                                            COUNT II

                     (Against Defendants For Waste Of Corporate Assets)

       70.     Plaintiffs incorporate by reference and reallege each and every allegation

contained above, as though fully set forth herein.

       71.     The wrongful conduct alleged regarding the issuance of false and misleading

statements was continuous, connected, and on-going throughout the time period in issue. It

resulted in continuous, connected, and ongoing harm to the Company.

       72.     As a result of the misconduct described above, Defendants wasted corporate

assets by, inter alia: (a) paying excessive compensation, bonuses, and termination payments to

certain of its executive officers; (b) awarding self-interested stock options to certain officers and

directors; and (c) incurring potentially millions of dollars of legal liability and/or legal costs to

defend and/or settle the Securities Class Action.



                                                 34
 Case 1:22-cv-00308-CJB Document 1 Filed 03/08/22 Page 35 of 37 PageID #: 35




       73.     As a result of the waste of corporate assets, Defendants are liable to the Company.

       74.     Plaintiffs, on behalf of the Company, have no adequate remedy at law.

                                           COUNT III

                         (Against Defendants For Unjust Enrichment)

       75.     Plaintiffs incorporate by reference and reallege each and every allegation set forth

above, as though fully set forth herein.

       76.     By their wrongful acts, violations of law, and false and misleading statements and

omissions of material fact that they made and/or caused to be made, Defendants were unjustly

enriched at the expense of, and the detriment of, the Company.

       77.     Defendants either benefitted financially from the improper conduct, or received

bonuses, stock options, or similar compensation from the Company that was tied to the

performance or artificially inflated valuation of the Company or received compensation or other

payments that were unjust in light of Defendants’ bad faith conduct.

       78.     Plaintiffs, as shareholders and representatives of the Company, seek restitution

from Defendants and seek an order from this Court disgorging all profits, including from insider

transactions, the redemption of preferred stock, benefits, and other compensation, including any

performance-based or valuation-based compensation, obtained by Defendants due to their

wrongful conduct and breach of their fiduciary and contractual duties.

       79.     Plaintiffs, on behalf of the Company, have no adequate remedy at law.

                                           COUNT IV

              (Against Defendants Kemp, Brannon, and Ednie for Contribution
                    Under Sections 10(b) and 21D of the Exchange Act)

       80.     Plaintiffs incorporate by reference and reallege each and every allegation set forth

above, as though fully set forth herein.

                                                35
 Case 1:22-cv-00308-CJB Document 1 Filed 03/08/22 Page 36 of 37 PageID #: 36




       81.     The Company and Defendants Kemp, Brannon and Ednie are named as

defendants in the Securities Class Action, which assert claims under the federal securities laws

for violations of Sections 10(b) and 21D of the Exchange Act, and SEC Rule 10b-5 promulgated

thereunder. If and when the Company is found liable in the Securities Class Action for these

violations of the federal securities laws, the Company’s liability will be in whole or in part due to

Defendants Kemp, Brannon, and Ednie willful and/or reckless violations of their obligations as

officers and/or director of the Company.

       82.     Defendants Kemp, Brannon and Ednie, because of their positions of control and

authority, were able to and did, directly and/or indirectly, exercise control over the business and

corporate affairs of the Company, including the wrongful acts complained of herein and in the

Securities Class Action.

       83.     Accordingly, Defendants Kemp, Brannon and Ednie are liable under 15 U.S.C. §

78j(b), which creates a private right of action for contribution, and Section 21D of the Exchange

Act, 15 U.S.C. § 78u-4(f), which governs the application of a private right of action for

contribution arising out of violations of the Exchange Act.

       84.     As such, the Company is entitled to receive all appropriate contribution or

indemnification from Defendants Kemp, Brannon and Ednie.

                                    REQUEST FOR RELIEF

       WHEREFORE, Plaintiffs demand judgment as follows:

       A.      Against all Defendants and in favor of the Company for the amount of damages

sustained by the Company as a result of Defendants’ breaches of fiduciary duties;

       B.      Directing the Company to take all necessary actions to reform and improve its

corporate governance and internal procedures to comply with applicable laws and to protect the



                                                 36
 Case 1:22-cv-00308-CJB Document 1 Filed 03/08/22 Page 37 of 37 PageID #: 37




Company and its shareholders from a repeat of the damaging events described herein, including,

but not limited to, putting forward for shareholder vote resolutions for amendments to the

Company’s By-Laws or Articles of Incorporation and taking such other action as may be

necessary to place before shareholders for a vote a proposal to strengthen the Board’s

supervision of operations and risk management, and develop and implement procedures for

greater shareholder input into the policies and guidelines of the Board;

       C.      Awarding to the Company restitution from Defendants, and each of them, and

ordering disgorgement of all profits, benefits and other compensation obtained by Defendants;

       D.      Awarding to Plaintiffs the costs and disbursements of the action, including

reasonable attorneys’ fees, accountants’ and experts’ fees, costs, and expenses; and

       E.      Granting such other and further relief as the Court deems just and proper.

                               DEMAND FOR TRIAL BY JURY

       Plaintiffs demand a trial by jury on all issues so triable.

Dated: March 8, 2022                           BIELLI & KLAUDER, LLC

                                               /s/ Ryan M. Ernst
                                               Ryan M. Ernst (No. 4788)
                                               1204 N. King Street
                                               Wilmington, DE 19801
                                               Telephone: (302) 803-4600
                                               Email: rernst@bk-legal.com

                                               GAINEY McKENNA & EGLESTON
                                               Thomas J. McKenna
                                               Gregory M. Egleston
                                               501 Fifth Avenue, 19th Floor
                                               New York, NY 10017
                                               Telephone: (212) 983-1300
                                               Facsimile: (212) 983-0383
                                               Email: tjmckenna@gme-law.com
                                               Email: gegleston@gme-law.com

                                               Attorneys for Plaintiffs

                                                 37
